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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                              AT KANSAS CITY, KANSAS

                                                )
                                                )
JACQUELINE S. SIMMONS,                          )          Case No.: 18-02116-CM
                                                )
                       Plaintiff,               )
v.                                              )
                                                )
MIDWEST MEDICAL SPECIALISTS,                    )
P.A.,                                           )
                                                )
                       Defendant.               )


                               FIRST AMENDED COMPLAINT
       Jacqueline Simmons, for her first amended complaint against Midwest Medical Special-

ists, P.A., (Midwest) alleges the following:


                                     Preliminary Statement


       This is an employment discrimination case arising from Midwest’s termination of

Jacqueline Simmons. On or about November 4, 2016, the day following Simmons’ pretextual

termination, Midwest hired a male, with no experience, to replace her and paid him $5.00 more

per hour to perform the exact same position as she held the day before.


                                               Parties


       1.      Simmons is a citizen of the United States and a resident of Johnson County, Kan-

sas.

       2.      Defendant Midwest Medical Specialists, P.A. is a professional association orga-

nized, created and registered to do business in the State of Kansas, with its principal place of

business located at 8490 College Boulevard, Overland Park, Kansas 66210.
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                                         Nature of Action


          3.     This action seeks redress for and sex/gender discrimination under Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-2(a) (“Title VII”) resulting in the

wrongful termination of Jacqueline Simmons, against the named defendant, and sex-based pay

discrimination in violation of the Equal Pay Act 29 U.S.C. §206(d)(1).


                                        Jurisdictional Basis

          4.     This Court has primary jurisdiction over the Title VII and Equal Pay claims,

pursuant to 28 U.S.C. §1331.

          5.     Defendant Midwest is located within this district. Accordingly, as the acts com-

plained of herein took place within this District, the venue is proper in this district under 28

U.S.C. §1391.

                          Administrative remedies have been exhausted

          6.     Simmons incorporates by reference the above paragraphs as though set forth sepa-

rately herein.

          7.     Simmons filed her Charge of Discrimination (No. 563-2017-01227) with the U.S.

Equal Employment Opportunity Commission (EEOC), for sex, age and equal pay discrimination

on or about May 9, 2017. Simmons was issued a Notice of Right to Sue for this Charge on Feb-

ruary 5, 2018, and filed her initial complaint within ninety days of receipt of same on March 12,

2018. See, documents attached hereto.

          8.     Accordingly, Simmons has met all administrative prerequisites prior to filing this

action.




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                                  Facts Common to All Counts


          9.       Simmons was hired by Midwest in April 2014 as their information technology

(IT) coordinator. Simmons was in charge of everything and anything having to do with IT as

well as the “meaningful use health information systems”.

          10.   In May 2015, she received an excellent review and a $3.00/hour raise.

          11.   In June 2015, Barbara McCollum replaced the previous practice manager.

          12.   In May and June 2016, Simmons made requests to McCollum for her yearly re-

view. McCollum ignored Simmons’ requests.

          13.   Other co-workers, however, received their yearly reviews, promotions and raises

during this time frame.

          14.   McCollum again ignored a request Simmons made via email requesting her yearly

review.

          15.   During this time frame, Midwest hired a contractor to host their server. The com-

pany’s name is Converged Communications and the primary employee doing work for them was

named Joe Tusso.

          16.   As it turns out, Tusso and McCollum had a close working relationship prior work-

ing at Midwest.

          17.   As time passed, Tusso became increasingly difficult to communicate and work

with. In the Spring of 2016, Tusso began avoiding communication with Simmons regarding im-

portant IT issues. Additionally, when Simmons would contact Joe about her work tickets, he

would become verbally aggressive, and curse at her leaving her feeling uncomfortable, threat-

ened, and harassed as a result of her inquiry.




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       18.     As a result, Simmons complained of this inappropriate behavior to McCollum.

However, McCollum ignored these complaints, and told Simmons just to “deal with it” because

“that is how [Tusso] is.”

       19.     Following Simmons complaints, McCollum informed her that Tusso did not want

to “deal” with Simmons any longer that she would need to relay any important information

through her [McCollum].

       20.     Simmons voiced her concern to McCollum indicating that they were a team and

that it was inappropriate and unfair that she [McCollum] would be supporting a contractor and

not a Midwest employee.

       21.     McCollum ignored Simmons’ complaints.

       22.     As a result, she reached out to all of the Midwest shareholders via email to com-

plain of the treatment she was receiving. Her complaints, however, were again ignored.

       23.     On November 3, 2016, McCollum called Simmons to her office (Becky Yeager

was also present). McCollum told Simmons that on November 2, 2016, she had “accessed the

server and tried to make changes and could no longer trust her [Simmons].” However, On No-

vember 1, 2016, McCollum had Tusso change the “administrative” login password to prevent

Simmons from accessing the server. Simmons was unaware that this change had been made, and

knew she needed to log into the server to reactivate a returning employee, Tonia Reeves. (This

was a request the McCollum made via email that this employee was returning and needed to be

re-activated. This was the “change” that McCollum was referring to when she stated she no

longer trusted Simmons). Thinking Converged may have just been working on the server, Sim-

mons then tried to log in with her own AD domain password (since she was an admin and had

rights) on November 2, 2061, was able to access the server and re-activate Tonia Reeves, and



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logged off immediately afterwards. As a practical matter, Simmons was the IT coordinator, and

part of her job would have been to access the server. Nevertheless, Simmons was terminated by

Midwest on November 3, 2016.

       24.     On or about November 4, 2016, at McCollum’s direction, Midwest hired John

McGregor to replace Simmons. McGregor is a male, younger than Simmons, with no IT experi-

ence, but was started at a pay rate $5.00/hour higher than Simmons.

       25.     Upon information and belief, at the time the decision to terminate Simmons and

hire McGregor, McCollum and McGregor were involved in an extra-marital affair.

       26.     During her tenure with Midwest, Simmons never received any verbal or written

reprimands. Indeed, by all accounts, she was a hardworking and well-liked employee, and never

received anything but praise from the shareholders. However, the day after her termination,

Simmons was replaced by a younger male, with no IT experience, (allegedly having an affair

with McCollum), with a starting salary of $5.00 more per hour that her. McGregor had no prior

IT or Health Information Systems experience. Additionally, upon information and belief,

McCollum and Converged communications had decided to terminate Simmons on November 2,

2016. Accordingly, Midwest retaliated and discriminated against Ms. Simmons because of her

sex (female) in violation of Title VII and the Equal Pay Act.



                                           COUNT I
                                Title VII Discrimination Claim

       27.     Simmons realleges and incorporates all preceding paragraphs.

       28.     The day after her termination, a male with no IT experience replaced Simmons.

       29.     Accordingly, Midwest terminated Simmons because of her gender.




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       30.     Simmons suffered economic and non-economic damages as a result of the con-

duct of the Midwest.

       31.     The actions of the Midwest were committed with malice or reckless indifference

to her federally protected rights.

       WHEREFORE, Simmons prays for judgment against Midwest her actual and punitive

damages and her reasonable attorneys’ fees, together with her costs, and any other relief the

Court deems fair and equitable.


                                       COUNT II
   Sex-Based Pay Discrimination in Violation of the Equal Pay Act, 29 U.S.C. §206(d)(1)

       32.     Simmons realleges and incorporates all preceding paragraphs.

       33.     Section 206(d)(1) of the Equal Pay Act makes it unlawful for an employer “to

discriminate . . . between employees on the basis of sex by paying wages to employees . . . at a

rate less than the rate at which he pays to employees of the opposite sex . . . for equal work on

jobs the performance of which requires equal skill, efforts, and responsibility, and which are

performed under similar working conditions, except where such payment is made pursuant to (i)

a seniority system, (ii) a merit system; (iii) a system which measures earnings by quantity or

quality of production; or (iv) a differential based on any other factor other than sex.”

       34.     Upon information and belief, Midwest replaced Simmons with a male successor

as an IT coordinator – the exact same job that Simmons held.

       35.     Simmons and her male successor performed their jobs under similar working

conditions.

       36.     Simmons was paid a lower wage than her male successor doing substantially

equal work.



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        37.       The differential in pay between Simmons and her male successor was not due to a

bona fide seniority system, a bona fide merit system, or a bona fide system that measures em-

ployee earnings by quantity or quality of work, nor was the difference in pay a result of a factor

other than sex.

        38.       Midwest caused, contributed to, or caused the continuation of wage rate discrimi-

nation based on sex in violation of the Equal Pay Act.

        39.       Midwest’s actions were willful and intentional; Midwest did not act in good faith

and had no reasonable grounds for the pay disparity described herein.

        40.       As a direct, legal, and proximate result of the discrimination, Simmons has

sustained and will continue to sustain, economic damages.

        41.       As a result of Midwest’s actions, Simmons has suffered garden variety emotional

distress.

        WHEREFORE, Simmons prays for judgment against Midwest for her economic and

compensatory damages, including, but not limited to all monetary relief available for equal pay

violations such as back pay, liquidated damages, punitive damages, prejudgment and post-

judgment interest reasonable attorneys’ fees and costs, other compensation pursuant to 29 U.S.C

§216(b) and all other relief the Court deems just and proper.

                                            COUNT III
                                    Title VII Retaliation Claim
        42.       Simmons realleges and incorporates all preceding paragraphs.

        43.       Simmons engaged in protected activity in that she complained to management

about discrimination based on her gender.

        44.       In retaliation for engaging in protected activity, Midwest terminated Simmons.




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       45.     Simmons suffered economic and non-economic damages as a result of the con-

duct of Midwest.

       46.     The actions of Midwest were committed with malice or reckless indifference to

her federally protected rights.

       WHEREFORE, Simmons prays for judgment against Midwest for her actual and punitive

damages and her reasonable attorneys’ fees, together with his costs, and any other relief the

Court deems fair and equitable.




                                  Jury Demand and Place of Trial

       Simmons respectfully requests a trial by jury on all issues so triable in Kansas City, Kan-

sas.




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                                CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing was filed on April 17, 2018,

via the court’s eFiling system with notice to the following:



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